                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MARAIM RIVERA, individually, and on
 behalf of all others similarly situated,

      Plaintiffs,

 v.                                            Case No. 22-cv-00451

 CAPITAL LINK MANAGEMENT, LLC

      Defendant.


                                 ENTRY OF DEFAULT


        This matter comes before the undersigned Clerk of Court upon Plaintiff’s

Motion for Entry of Default filed on August 18, 2022.

        It appears that Defendant CAPITAL LINK MANAGEMENT, LLC was served the

summons and complaint on June 16, 2022 and has not filed an answer or responsive

pleading. It further appears that Defendant is subject to default as provided by Rule 55 of

the Federal Rules of Civil Procedure.

        THEREFORE, pursuant to Rule 55(a) of the Federal Rules of Civil Procedure,

default is hereby entered against Defendant CAPITAL LINK MANAGEMENT, LLC.

        This the 19th day of August, 2022.


                                             /s/ John S. Brubaker
                                              Clerk of Court




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